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1     Daniel C. Girard (State Bar No. 114826)
2     Jordan Elias (State Bar No. 228731)
      Adam E. Polk (State Bar No. 273000)
3     Elizabeth A. Kramer (State Bar No. 293129)
4     GIRARD GIBBS LLP
      601 California Street, Suite 1400
5     San Francisco, California 94108
6     Tel: (415) 981-4800
      Email: dcg@girardgibbs.com
7
      Email: je@girardgibbs.com
8     Email: aep@girardgibbs.com
9     Email: eak@girardgibbs.com

10    Counsel for Plaintiffs
11
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13                             UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                                     WESTERN DIVISION
16
17    JAY BEYNON FAMILY TRUST DTD                  Case No. 2:18-cv-00103-DMG-KS
      10/23/1998, RICHARD J. CARLI, LOIS
18    M. CARLI, ALBERT M. LYNCH, AND               NOTICE OF RELATED CASES
19    FREDA B. LYNCH on behalf of
      themselves and all others similarly
20
      situated,
21
                         Plaintiffs,
22         v.
23
      COMERICA BANK,
24
                         Defendant.
25
26
27
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                                 NOTICE OF RELATED CASES
                                CASE NO. 2:18-CV-00103-DMG-KS
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1    TO THE COURT, THE PARTIES, AND THEIR COUNSEL OF RECORD:
2          PLEASE TAKE NOTICE that, pursuant to Civil Local Rule 83-1.3, Plaintiffs Jay
3    Beynon Family Trust DTD 10/23/1998, Richard J. Carli, Lois M. Carli, Albert M.
4    Lynch, and Freda B. Lynch, hereby give notice of two related cases:
5          1)     Robert J. Prince et al v. Comerica Bank, No. 2:18-cv-00430-JFW-JC
6    (C.D. Cal. filed Jan. 17, 2018) (the “Prince” action).
7          2)     Landman et al v. Comerica Bank, 2:18-cv-00471(C.D. Cal. filed Jan. 18,
8    2018) (the “Landman” action).
9
10   Factual Statement
11         The above-listed actions and this action (1) arise from the same or a closely
12   related transaction, happening, or event, and (2) call for determination of the same or
13   substantially related or similar questions of law and fact. This action and those listed
14   above involve substantial factual overlap relating to a large investment fraud allegedly
15   perpetrated by real estate developer Robert H. Shapiro and his Woodbridge group of
16   companies. The present action, filed on January 4, 2018, is brought by plaintiffs in
17   California, North Carolina, and South Carolina who invested in Woodbridge, and asserts
18   class action claims against Comerica for aiding and abetting fraud, aiding and abetting
19   breach of fiduciary duty, negligence, and violations of the Unfair Competition Law, Cal.
20   Bus. & Prof. Code § 17200 et seq. The Prince action was filed on January 17, 2018, and
21   asserts class action claims against Comerica for aiding and abetting fraud, aiding and
22   abetting breach of fiduciary duty, negligence, gross negligence, unjust enrichment,
23   violations of the Unfair Competition Law, and violations of California Corporations
24   Code § 25504.1, on behalf of investors in Pennsylvania and Tennessee. The Landman
25   action was filed on January 18, 2018, and asserts class action claims against Comerica
26   for aiding and abetting fraud, aiding and abetting breach of fiduciary duty, and
27   negligence, on behalf of investors in Nevada.
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                               CASE NO. 2:18-cv-00103-DMG-KS
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1                                         Respectfully submitted,
2    Dated: January 19, 2018              By:     /s/ Daniel C. Girard
3
                                          Daniel C. Girard (State Bar No. 114826)
4                                         Jordan Elias (State Bar No. 228731)
5                                         Adam E. Polk (State Bar No. 273000)
                                          Elizabeth A. Kramer (State Bar No. 293129)
6
                                          GIRARD GIBBS LLP
7                                         601 California Street, 14th Floor
8                                         San Francisco, California 94108
                                          Telephone: 415.981.4800
9                                         Email: dcg@girardgibbs.com
10                                        Email: je@girardgibbs.com
                                          Email: aep@girardgibbs.com
11
                                          Email: eak@girardgibbs.com
12
                                          Scott L. Silver (pro hac vice)
13                                        SILVER LAW GROUP
14                                        11780 W. Sample Road
                                          Coral Springs, FL 33065
15                                        Telephone: 954.755.4799
16                                        Email: ssilver@silverlaw.com
17                                        Jeffrey R. Sonn (pro hac vice forthcoming)
18                                        SONN LAW GROUP P.A.
                                          One Turnberry Place
19                                        19495 Biscayne Blvd., Suite 607
20                                        Aventura, FL 33180
                                          Telephone: 305.912.3000
21
                                          Email: jsonn@sonnlaw.com
22
                                          Attorneys for Plaintiffs
23
24
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26
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                                NOTICE OF RELATED CASES
                               CASE NO. 2:18-cv-00103-DMG-KS
